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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                          Richmond Division



VIRGINIA ELECTRIC & POWER COMPANY

     Plaintiff,

V.                                      Civil Action No . 3:20-cv- 806

WOOD ENVIRONMENT   &   INFRASTRUCTURE, INC.

     Defendant.


                                  JURY
                         INITIAL PRETRIAL ORDER


     At a pretrial conference held telephonically on January 25,

2021, this action was set for trial by a jury on July 6, 202 1 , at

9:30 a.m.

     1.     The Scheduling Order and Pretrial Schedule A previously

issued in this action shall remain in effect .

     2.     A Final Pretrial Conference will be conducted at 10:00

o'clock, a.m. on July 2, 2021, at which time trial counsel shall

appear and present for entry a Final Pretrial Order setting forth :

(A) a stipulation of undisputed facts;        (B) a list and description

of a ll exhibits, marked and consecutively numbered, intended to be

offered by each party as to which the re is no objection;            (C)   a

list and description of all exhibits,         marked and consecutively

numbered,   intended to be offered by each party as to which there
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are objections and a statement of the particular grounds for each

objection;   (D)   a   l is t   of all discovery material intended to be

offered;   (E)   the names and addresses of all witnesses who will

testify on behalf        of     each party and whether the witness wil l

testify as a fact witness or as an expert witness; (F) the factual

cont entions of each party ; and (G) the t r iabl e issues as contended

by each party.     All exhibit s to which no objection is made shall

be admitted wi tho ut furthe r           o rde r;   provided,    however,    that any

such exhibit not used in the trial shall be considered wi thdrawn

and will not be part of the record .                 Objections to exhibits and

designated   discovery          will    be    dec i ded   at   the   Final   Pretrial

Conference   unless      the    volume       of   designated discovery       requires

consideration at a separate time in which event counsel shall be

responsible for arranging another date for hearing on objections .

     No witness, exhibit or discovery material not included in the

Final Pretrial Order will be permitted to testify or be admitted

at trial, except as to non-expert witnesses, exhibits or discovery

material offered solely as rebuttal evidence or for impeachment.

     It shall be the responsibility of counsel for plaintiff(s) to

assemble and distribute to all other counsel a draft of t he Final

Pretrial Order in sufficient time to allow completion before the

Final Pretrial Conference.             Counsel shall resolve disagreements on

the content of the Final Pretrial Order and shall present a clean
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final version thereof at the Final Pretrial Conference.            Failure

to comply with the requirements of this paragraph may result on

the imposition of sanctions pursuant to Fed. R. Civ. P. 16(f).

     If no   Final   Pretrial Confere nce   is   to be held,    the Final

Pretrial Order shall be presented for entry by 5:00 p.m. two            (2)

business days before the commencement of trial.

     The Clerk is dire cted to send a copy of this Order to all

counsel of record.

     It is so ORDERED .




                                                  /s/
                                  Robert E. Payne
                                  Senior United States District Judge


Richmond, Virginia
Date: January    Z,,£ ,   2021




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